Case 2:19-cv-00389-JDL Document 208 Filed 10/21/22 Page 1 of 4                              PageID #: 3655




                                        UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MAINE

 MARK LEVESQUE, CHRISTIE DECKER,
 MICHAEL PLATT, SYLVIA KRAININ, and
 SALLY TRUSSELL,

                                  Plaintiffs,

            v.                                                        Case No. 2:19-cv-00389-JDL

 IBERDROLA, S.A. and CENTRAL MAINE
 POWER COMPANY,

                                  Defendants.


                          STIPULATION OF MOTION DISMISSAL OF ACTION

          NOW COME the Parties, by and through counsel, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), and request that this Court dismiss this action as to all named plaintiffs

and all remaining claims asserted, without prejudice and without costs to any party. All of the

Plaintiffs have given express consent for the filing of this Motion, and all Defendants consent to

this stipulation of dismissal as so described.

          WHEREFORE, the Parties hereby respectfully request that this Court dismiss the above-

captioned matter without prejudice and without costs as to all plaintiffs and all remaining claims

asserted therein.


          Dated at Portland, Maine, this 21st day of October, 2022.


                                                     Respectfully submitted,

                                                     /s/ Cyrus E. Cheslak _________

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Case 2:19-cv-00389-JDL Document 208 Filed 10/21/22 Page 2 of 4                                  PageID #: 3656




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Case 2:19-cv-00389-JDL Document 208 Filed 10/21/22 Page 3 of 4                               PageID #: 3657




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Case 2:19-cv-00389-JDL Document 208 Filed 10/21/22 Page 4 of 4                        PageID #: 3658




                                              CERTIFICATE OF SERVICE

          I certify that on October 21, 2022, I electronically filed the foregoing document using the

CM/ECF system which will send the notification of such filing to counsel of record.



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